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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 EAGLE PHARMACEUTICALS, INC.,

                Plaintiff,                           C.A. No. 24-64-JLH

                                                    JURY TRIAL DEMANDED
        v.

 APOTEX INC., AND APOTEX CORP,

                Defendants.


 EAGLE PHARMACEUTICALS, INC.,

                Plaintiff,                           C.A. No. 24-65-JLH

        v.                                          JURY TRIAL DEMANDED

 SLAYBACK PHARMA LLC,

                Defendant.


 EAGLE PHARMACEUTICALS, INC.,

                Plaintiff,                          C.A. No. 24-66-JLH
        v.                                          JURY TRIAL DEMANDED
 BAXTER HEALTHCARE
 CORPORATION,

                Defendant.



STIPULATION AND [PROPOSED] ORDER CONCERNING CLAIM CONSTRUCTION

       WHEREAS Plaintiff Eagle Pharmaceuticals, Inc. and Defendants Apotex Inc., Apotex

Corp., Slayback Pharma LLC, and Baxter Healthcare Corporation have engaged in discussions

relating to claim construction in the above-captioned actions;
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       WHEREAS during the parties’ discussions relating to claim construction, the Defendants

identified two terms as indefinite;

       WHEREAS in accordance with the Scheduling Orders (C.A. No. 24-64, D.I. 34, D.I. 87,

D.I. 90; C.A. No. 24-65, D.I. 29, D.I. 58, D.I. 60; C.A. No. 24-66-JLH, D.I. 29, D.I. 57, D.I. 59)

entered in this case, the parties exchanged supplemental interrogatory responses using reasonable

efforts to identify issues for claim construction;

       WHEREAS the Defendants have agreed to challenge only one disputed term as indefinite

during claim construction, and agreed to defer the adjudication of indefiniteness of issues that do

not implicate claim construction to a later stage in the litigation; and

       IT IS THEREFORE STIPULATED AND AGREED by and between the parties, through

their undersigned counsel, and subject to the approval of the Court, that:

       (1) The only indefiniteness challenge that Defendants will raise in connection with the

           claim construction briefing and the hearing on claim construction is a challenge relating

           to the claim term “wherein the bendamustine concentration in the composition is from

           about 25 mg/mL.”

       (2) All other indefiniteness issues that do not implicate claim construction shall be deferred

           to a later stage in the litigation.

       (3) Defendants reserve the right, and are permitted to raise the issue of indefiniteness of

           the one other identified claim term (“wherein the total impurities resulting from the

           degradation of the bendamustine is less than about 5% peak area response, as

           determined by HPLC at a wavelength of 223 nm after at least about 15 months at a

           temperature of about 5° C. to about 25° C.”) as well as other issues of indefiniteness

           identified by Defendants in Slayback’s supplemental interrogatory responses of




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           October 7, 2024 and Baxter and Apotex’s supplemental interrogatory responses of

           November 1, 2024, and any of Defendants’ future supplemental interrogatory

           responses, non-infringement contentions, or invalidity contentions, including

           Defendants’ final non-infringement contentions or final invalidity contentions, and

           Plaintiff reserves the right to raise all arguments in opposition to assertions of

           indefiniteness at a later stage of the litigation if such arguments are raised.

       (4) The parties agree that this deferral is made without waiver by any party of any

           arguments regarding the definiteness of terms.

Dated: November 7, 2024

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                              8th
      IT IS SO ORDERED this _________         November
                                      day of ______________, 2024.



                                             The Honorable Jennifer L. Hall
                                             United States District Judge




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